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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                                Case No. 16-20414-2

HARATIO HEARD,                                                    HON. AVERN COHN

     Defendant.
___________________________________/

                      MEMORANDUM AND ORDER DENYING
                     DEFENDANT’S MOTION FOR REVOCATION
                       OF ORDER OF DETENTION (Doc. 113)

                                           I.

      This is a criminal case. Following arraignment on an indictment charging

involvement in a drug conspiracy, defendant consented to detention (Doc. 25). After

return of the Second Superseding Indictment (Doc. 97), defendant filed a motion (Doc.

113) styled

              Motion and Brief for Revocation of Detention Order and For
              Bond With Combination of Conditions concerning Release

The government opposes release (Docs. 118 and 143). For the reasons that follow, the

motion is denied.

                                           II.

      In opposing release, the government says (Doc. 118):

              The defendant is charged in the Second Superseding
              Indictment with conspiracy to distribute a controlled
              substance, resulting in death or serious bodily injury; if
              convicted on Count 1 with the enhanced penalty, he would
              face a twenty-year mandatory minimum sentence of
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             imprisonment. His statutory maximum would be life.

             The controlled substances attributable to the defendant are
             alleged to be more than one kilogram of heroin; more than
             280 grams of crack cocaine; powder cocaine; and fentanyl.
             Even without the enhanced penalty, based on these
             quantities, the defendant is faced with the prospect of a
             mandatory minimum of ten years in prison and a maximum
             of life. The defendant is also charged with conspiracy to
             possess firearms in furtherance of a drug trafficking crime,
             as well as multiple substantive counts of distribution of a
             controlled substance or possession of a controlled
             substance with intent to distribute. One of these substantive
             counts, possession with intent to distribute near a school,
             carries a mandatory minimum sentence of five years in
             prison.

             In addition, the defendant is eligible for further increases in
             penalties under Title 21, United States Code, Section 851,
             because he has a prior felony drug conviction. If the
             government files an information under this section, his
             mandatory minimums increase – the five-year minimum
             becomes ten-to-life, the ten-year minimum becomes twenty-
             to-life, and the twenty-year minimum becomes mandatory
             life in prison. 21 U.S.C. §841(b).

The Court held a hearing on the motion on October 17, 2016, and a detention hearing

on November 2, 2016.

                                            III.

      Based on the charges against defendant, there is a rebuttable presumption for

detention. See 18 U.S.C. § 3142(e)(3). Defendant may rebut the presumption with

evidence suggesting he is not a risk of fight or danger to the community. To determine

whether release is in order, the Court considers four factors: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence; (3) the history and

characteristics of the defendant; and (4) the danger to the community. See 18 U.S.C. §

3142(g).

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                                            IV.

       Defendant has not overcome the presumption of detention nor is the Court

persuaded that release is otherwise in order. While the Court was initially concerned

with the apparent disparity in detention orders (there are a multitude of defendants in

this case, some of whom are detained and some of whom are on release), it is now

satisfied, having studied the record, that the government has not been arbitrary in its

position regarding pretrial release. Given the magnitude of the charges against the

defendant and the mandatory sentence required should he be convicted, defendant is

not entitled to pretrial release. The pretrial release conditions suggested by him simply

do not assure the safety of the community should he be released pretrial. Despite the

Court’s observation that the government has exaggerated the likelihood that defendant

will go back to drug dealing should he be released, detention is nevertheless warranted.

       Accordingly, defendant’s motion for revocation of the detention order is DENIED.

                                         CAVEAT

       The government is cautioned that by the January 27, 2017, conference:

       (a)    discovery should be completed; and

       (b)    it should be ready for trial. Dependent on the number of
              defendants going to trial, it is more than likely there must be two (2)
              trials, each of manageable proportion.

SO ORDERED.

                                          S/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE
Dated: November 15, 2016
      Detroit, Michigan



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